    Case 3:15-cv-01174-AJB-DHB Document 1-2 Filed 05/27/15 PageID.7 Page 1 of 6
.         •
                                           Plaintiffs Claim and ORDER                                  C/erk sfknps date here when1orm is filed.
                                           to Go to Small Claims Court                                                        FF
                                                                                                                              t~.~
Notice to_the person being sued:                                                                                                         .
                                                                                                                          PR;:~
• You are the Defendant if your name is listed in Q on,page 2 of this
  form. The person suing you is the Plaintiff; listed in Q on page 2.
                                                                                                                bj ~iih 4€~p~~iti~;
• You,and the Plaintiff.must go to court on the trial date listed"below. If you
  do not go to court, you may lose the 'case.
• If you lose, the court can order that your wages, money; or property be
  taken to pay this claim.
                                                                                                       Fill in court name and street address:
• Bring witnesses, receipts, and any evidence you need to prove your case.
                                                                                                       Superior Court of California, County of
• Read this form and all pages attached to understand the claim against
                                                                                                       San Diego
  you and to protect your rights.
                                                                                                       330 W Broadway, Rm 241
Aviso al Demandado:                                                                                    San Diego, CA 92101-3827

• Usted es el Demandado si su nombre figura en 20 de la pfigina 2
  de este formulario. La persona que lo demanda es el Demandante, la que
  figura en 01 de la pagina 2.                                                                         aerK nns In case numer ano case name:
                                                                                                       Case Number:
• Usted y el Demandante tienen que presentarse en la corte en la fecha del
                                                                                                       37-2015-00321227-SC-S C-CTL
  juicio indicada a continuacion. Si no se presenta, puede perder el caso.
                                                                                                      Case Name:
• Si pierde el caso la corte podrfa ordenar que le quiten de su sueldo, dinero u                      Marquez vs. Midland Credit Management, Inc.
  otros bienes para pagar este reciamo:
• Lleve testigos, recibos y cualquier otra prueba que necesite para probar su caso.
• Lea este formulario y todas las paginas adjuntas para entender la demanda en
  su contra y para proteger sus derechos.


The people in                        and           must go to court: (Clerk fills out section below.)
                          Time                                   Depa rt ment      Name and address of cou rt if different from above
    Trial ~ Date
    Date  1  07/30/2015 01:00:00 PM                                C-22                 220 West Broadway San Diego, CA 92101
                     2:
                     3.       NRr11V REQt7EST F0A CONT=A=- N1IJ5TINCI,T3DE A SIOAD PEE AND $t StTBMn7'ZD AT L-EAST-1 O DAYS BEPORI?'tPtAL-HATE-            --


    Date:            04/21 /2015                               Clerk, by         G. D~-c~~                                                      , Deputy

Instructions for the person suing:
• You are the Plaintiff. The person you are suing is the Defendant.
• Before you fill out this form, read Form SC-100-INFO, Information for the Plaintiff, to know your rights. Get
  SC-100-INFO at any courthouse or county law library, or go to: www.courts.ca.gov/smallclaims/forms.
• Fill out pages 2 and 3 of this form. Then make copies of all pages of this form. (Make 1 copy for each party named in
  this case and an extra copy for yourself.) Take or mail the original and these copies to the court clerk's office and pay
  the filing fee. The clerk will write the date of your trial in the box above.
• You must have someone at least 18—not you or anyone else listed in this case—give each Defendant a court-stamped
  copy of all 5 pages of this form and any pages this form tells you to attach. There are special rules for "serving," or
  delivering, this form to public entities, associations, and some businesses. See Forms SC-104, SC-104B,
  and SC-104C.
• Go to court on your trial date listed above. Bring witnesses, receipts, and any evidence you need to prove your case.
Judicial Counal of California, www.courts.ca.gov
Revised January 1, 2012, Mandatory Forrn                    Plaintiffs Claim and ORDER
Code of Civil Procedure, §116.110 et seq.,
116.220(c), 116.340(g)                                      to Go to Small Claims Court                                                                4

                                                                    (Small Claims)
   Case 3:15-cv-01174-AJB-DHB Document 1-2 Filed 05/27/15 PageID.8 Page 2 of 6
                                                                                        Case Number:
                           Camilo Marquez                                              37-2015-00321227-SC-SC-CTL
Plaintiff (list names):


       The Plaintiff (the person, business, or public entity that is suing) is:
O      Name: Camilo Marquez                                                          Phone:619-917-2231

       Street address: 760 Dorothv Street # B. Chula Vista, CA 91911
                             Street                                        City                    State        Zip

       Mailing address (if different):
                                             treet                         city                    State        Zip
       If more than one Plaintiff, list next Plaintiff here:
       Name:                                                                         Phone:

       Street address:
                             Street                                        City                    State        Zip
       Mailing address (if different):
                                            Street                         City                        State     Zip
       ❑ Check here if more than 2 Plaintiffs and attach Form SC-100A.
       ❑ Check here if either Plaintiff listed above is doing business under a fictitious name. If so, attach Form SC-103.

O      The Defendant (the person, business, or public entity being sued) is:
       Name: Midland Credit Management, Inc.                                           Phone:

       Street address: 3111 Camino Del Rio North Ste 1300, San Diego, CA 92108
                              treet                                         City                       State      zip
                                       Agent for Service: CSC Lawyers Incorporating Serv
       Mailin9 address (tf different):971n ratawav C)ak f)riva # Sta 150N. Sacramento. CA 95833

        If more than one Defendant, list next Defendant here:
        Name:                                                                        Phone:

        Street address:
                              Street                                        city                       State     Zip

        Mailing address (if different):
                                  Street                        city                                    State     zip
        ❑ Check here if more than 2 Defendants and attach Form SC-100A.
        ❑ Check here if any Defendant is on active military duty, and write his or her name here:
 O3     The PlaintifP claims the Defendant owes $ 10.000.00               .(Explain below):
        a. Why does the Defendant owe the Plaintiff money? Refused to remove negative credit reporting
        unable to refinance my home loss of money

       b. When did this happen? (Date): 11/15/2014
          If no specific date, give the time pe`riod: Date started:              Through:
       c. How did you calculate the money owed to you? (Do not include coutt costs or fees for service.)
          Paying higher interest rates, loss time from work, stress


         ❑ Check here if you need more space. Attach one sheet of paper or Form MC-031 and write "SC-100, ltem 3" at
           the top.




 Revised January 1, 2012                             Plaintiffs Claim and ORDER                                         sc-100, Page 2
                                                     to Go to Small Claims Court
                                                             (Small Claims)
  Case 3:15-cv-01174-AJB-DHB Document 1-2 Filed 05/27/15 PageID.9 Page 3 of 6
      `~                                                                                   Caee Number:

Plaintiff (list names): Camilo Marquez                                                     37-2015-00321227-sc-SC-CTL

 4 You must ask the Defendant (in person, in writing, or by phone) to pay you before you sue.
   Have you done this? ❑x Yes ❑ No
   If no, explain why not:

O
6 Why are you filing your claim at this courthouse?
     This courthouse covers the area (check the one that applies):                                                ---
      a. ❑
         x (1) Where the Defendant lives or does business. (4) Where a contract (written or spoken) was made,
            (2) Where the Plaintiffs property was damaged.           signed, performed, or broken by the Defendant or
                                                                     where the Defendant lived or did business when
            (3) Where the Plaintiff was injured.
                                                                     the Defendant made the contract.
      b. ❑ Where the buyer or lessee signed the contract, lives now, or lived when the contract was made; if this claim
           is about an offer or contract for personal, family, or household goods, services, or loans. (Code Civ. Proc.,
           § 395(b).)
       c. ❑ Where the buyer signed the contract, lives now, or lived when the contract was made, if this claim is about
            a retail installment contract (like a credit card). (Civil Code, § 1812.10.)
      d. ❑ Where the buyer signed the contract, lives now, or lived when the contract was made, or where the vehicle
           is permanently garaged, if this claim is about a vehicle finance sale. (Civil Code, § 2984.4.)
      e. ❑ Other (specify):
O
6 'List the zip code of the place checked in SOabove (if you know):
 7 Is your claim about an attorney-client fee dispute? ❑ Yes 0 No
[J
     If yes, and if you have had arbitration, fill out Form SC-101, attach it to this form, and check here: ❑
® Are you suing a public entity? ❑ Yes XR No
     If yes, you must file a written claim with the entity first. ❑ A claim was filed on (date):
     If the public entity denies your claim or does not answer wfthin the time allowed by law, you can file this form.
 9O Have you filed more than 12 other small claims within the last 12 months in California?
      ❑ Yes 0 No If yes, the filing fee for this case will be higher.

10 1 understand that by filing a claim in small claims court, I have no right to appeal this claim.
11 I have not filed, and understand that I cannot file, more than two small claims cases for more than $2,500 in
    California during this calendar year.
    I declare, under penalty of perjury under California State law, that the information above and on any attachments to
     this form is true and correct.
     Date:      04/21/2015 ' Camilo Marquez                                         ORTOTNAL STGNATURE Oiy F11.:.E
                                  Plaintilf types orprints name here                             Ptaintifl signs here

     Date:
                                  Second PlaintiHtypes or prints name here                      Second Plaintilf signs here

                         Requests for Accommodations
                         Assistive listening systems, computer-assisted, real-time captioning; or sign language interpreter services
                         are available if you ask at least 5 days before the trial. Contact the clerk's office for Form
                         MC-410, Request forAccommodations by Persons With Disabilities and Response. (Civil Code, §54.8.)




                , 2012
Revised January 1                                       Plaintiffs Claim and ORDER                                            sc-100, Page 3_
                                                        to Go to Small Claims Court
                                                                (Small Claims)
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                              Information                             Defendant                                   being sued)
"Small claims court" is a special court where claims                         Do I have options?
for $5,000 or less are decided. A"natural person" (not                       Yes. If you are being sued, you can:
a business or public entity) may claim up to $10,000,
including a sole proprietor. ("See below for exceptions.) The                • Settle your case before the trial. If you and the
process is quick and cheap.The rules are simple and informal                      Plaintiff agree on how to settle the case, both of you must
You are the Defendant -- the person being sued. The                              notify the court. Ask the Small Claims Advisor for help.
person who is suing you is the Plaintiff.                                    • Prove this is the wrong court. Send a letter to the
Do I need a lawyer?                                                               court before your trial, explaining why you think this
You may talk to a lawyer before or after the case. But you                        is the wrong court. Ask the court to dismiss the claim.
may not have a lawyer represent you in court (unless this is                      You must serve (give) a copy of your letter (by mail
an appeal from a small claims case).                                              or in person) to all parties. (Your letter to the court
 How do I get ready for. court?                                                   must say you have done this.)
You don't have to file any papers before your trial, unless                  • Go to the trial and try to win your case. Bring
you think this is the wrong court for your case. But bring                        witnesses, receipts, and any evidence you need to
to your trial any witnesses, receipts, and evidence that                          prove your case. To make sure the witnesses go to the
supports your case. And read "Be Prepared for Your Trial" at:                     trial, fill out Form SC-107, and the clerk will subpoena
www. courts. ca.gov/smallclaims/prepare                                           (order) them to go.
What if I need an accommodation?                                             •     Sue the person who is suing you. File Form SC-120,.
If you have a disability or are hearing impaired, fill out                         Defendant's Claim. There are strict filing deadlines
Form MC-410, Request forAccommodations. Give the                                   you must follow. .
form to your court clerk or the ADA/Access Coordinator.                      •     Agree with the Plaintiff's claim and pay the money.
What if I don't speak English well?                                                Or, if you can't pay the money now, go to your trial
Bring an adult who is not a witness to interpret for you, or                       and say you want to make payments.
ask the court clerk for an interpreter at least five days before             •     Let the case "default." If you don't settle and do not
your court date. A court-provided interpreter may not be                           go to the trial (default), the judge may give the
available or there may be a fee for using a court interpreter                      Plaintiff what he or she is asking for plus court costs. If
unless,you qualify for a fee waiver. You may ask the court                         this happens, the Plaintiff can legally take your
for a list of interpreters and also the Application for Waiver                     money, wages, and property to pay the judgment.
of Court Fees and Costs (form FW-001).                                       What if I need more time?
Where can I get the court forms I need?                                      You can change the trial date if:
Go to any courthouse or your county law library, or print                    • You cannot go to court on the scheduled date (you
forms at: www.courts.ca.gov/smallclaims/forms.                                     will have to pay a fee to postpone the trial) or
What happens at the trial?                                                   • You did not get served (receive this order to go to
The judge will listen to both sides. The judge may make a                          court) at least 15 days before the trial (or 20 days if
decision at your trial or mail the decision to you later.                          you live outside the county) or
 What if I lose the case?                                                     • You need more time to get an interpreter. One
If you lose, you can appeal. You'II have to pay a fee.                             postponement is allowed, and you will not have to pay
(Plaintiffs cannot appeal their own claims.)                                       a fee to delay the trial.
 • If you were at the trial, file Form SC-140, Notice of                     Ask the Small Claims Clerk about the rules and fees for
     Appeal. You must file within 30 days after the                          postponing a trial. Or fill out Form SC-150 (or write a
      judge's decision.                                                      letter) and mail it to the court and to all other people listed
                                                                             on your court papers before the deadline. Enclose a check
•    If you were not at the trial, fill out and file Form
                                                                             for your court fees, unless a fee waiver was granted.
     SC-135, Notfce of Motion to Vacate Judgment and
                                                                              ^        Need help?
     Declaration, to ask the judge to cancel the judgment
                                                                               , Your county's Small Claims Advisor can help for free.
     (decision). If the judge does not give you a new trial,
     you have 10 days to appeal the decision. File Form                         Hotline: (858) 634-1777
     SC-140.                                                                    Central Division: 330 W BroadwaX, Rm 241, San Diego, CA 92101
                                                                                North Division: 325 S. Melrose Dnve, Vista, CA 92081
For more information on appeals, see:                                    .    I



www. courts,ca. gov/smallclaims/appeal.
                                                                                     Or go to www.courts.ca.gov/smallclaims/advisor.
'Exceptions: Different limits apply in an action against a defendant who is a guarantor.(See Code Civ.Proc. §116.220(c).) In an action brought
 by a natural person for damages for bodily injuries resulting from an automobile accident, a$7,500 limit applies if a defendant is covered by
 an automobile insurance policy that includes a duty to defend.(See Code Civ.Proc. §116.221)

Revised January 1, 2012      Plaintiffs Claim and ORDER to Go to Small Claims Court                                             sc-100, Page 4
                                                  (Small Claims)                                                                           4
     Case 3:15-cv-01174-AJB-DHB Document 1-2 Filed 05/27/15 PageID.11 Page 5 of 6

                              Informacion para el demandado (la persona demandada)
La "Corte de reclamos menores" es una corte especial donde se           ZTengo otras opciones?
deciden casos por $5,000 b menos. Una "persona naturaP' (que            Si. Si lo estan demandando, puede:
no sea un negocio ni una entidad pGblica) puede reclamar hasta        • Resolver su caso antes del juicio. Si usted y el
$10,000. Una "persona naturaP' (que no sea un negocio ni una             Demandante. se ponen de acuerdo en resolver el
entidad pGblica), que incluye un dueno generalmente puede                caso, ambos tienen que notificar a la corte. Pidale al
reclamar hasta $10,000.(* Vea abajo para las excepciones.)               Asesor de Reclamos.Menores que lo ayude.
EI proceso es rapido y barato. Las reglas son sencillas e informales. •
                                                                         probar que es la corte equivocada. Envie una carta a
  Usted es el Demandado — la persona que se esta                         la corte antes del 'uicio explicando por que cree que es
 demandando. La persona que lo esta demandando es el                     la co rte equivoca~a. Pidale a la corte que despida el
  Demandante.                                                            reclamo. Tiene que entregar (dar) una copia de su carta
 ZNecesito un abogado?                                                   (por correo o en persona) a todas las partes. (Su carta a
 Puede hablar con un abogado antes o despues del caso.                   la corte tiene que decir que hizo la entrega.)
 Pero no puede tener a un abogado que lo represente ante • Ir al juicio y tratar de ganar el caso. Lleve testigos,
 la corte (a menos que se trate de una apelacibn de un caso              recibos y cualquier prueba que necesite para probar
                                                                         su caso. Para asegurarse que los testigos vayan al
 de reclamos menores).                                                   juicio, Ilene el formulario SC-107 y el secretario emitira
 IComo me preparo para ir a la corte?                                    una orden de comparecencia ordenandoles que se
  No tiene que presentar ningunos papeles antes del juicio, a            presenten.
  menos que piense que asta es la corte equivocada para su            . Demandar a la persona que lo demando. Presente
  caso. Pero Ileve al juicio cualquier testigos, recibos, y              el formulario SC-120, Reclamo del demandado. Hay
 cualquier pruebas que apoyan su caso. Y Lea "Preparese                  fechas limite estrictas que debe seguir.
  para la corte" en:
 www.courts.ca.gov/reclamosmenores/prepararse.                        • Aceptar el reciamo del Demandante y pagar el
                                                                         dinero. O, si no puede pagar en ese momento, vaya
 ZQue hago si necesito una adaptacion?                                   al juicio y diga que quiere hacer los pagos.
 Si tiene una discapacidad o tiene impedimentos de
 audicidn, Ilene el formulario MC-410, Request for                       No ir al juicio y aceptar el fallo por faita de
  Accomodations. Entregue el formulario al secretario de la              comparecencia. Si no Ilega a un acuerdo con el
                                                                          Demandante y no va al juicio (fallo por falta de
 corte o al Coordinador de Acceso/ADA de su corte.
                                                                         comparecencia), el juez le puede otorgar al Demandante
 LQue pasa si no hablo bien ingles?                                      lo que esta reciamando mas los costos de la corte. En
 Traiga a un adulto que no sea testigo para que le sirva de              ese caso, el Demandante legalmente puede tomar su
 interprete. O pida al secretario de la corte que le asigne uno.         dinero, su sueldo o sus bienes para cobrar el fallo.
 Si quiere que la corte le asigne un interprete, lo tiene que           Que hago si necesito mas tiempo?
 pedir como minimo menos cinco dias antes de la fecha en              ~uede cambiar la fecha del juicio si:
 que tenga que ir a la corte. Es posible que no haya disponible
 un interprete proporcionado por la corte o que tenga que             • No puede ir a la corte en la fecha programada
 pagar una cuota por empfear un interprete de la corte, a                (Tendra que pagar una cuota para aplazar el juicio), o
 menos que tenga una exenci6n de cuotas. Puede pedir a la             • No le entregaron los documentos legalmente (no
 corte una lista de interpretes y la Solocitude de exenci6n de           recibib la orden para ir a la corte) por lo menos 15
 cuotas y costos de la corte (formulario FW-001).                        dias antes del juicio (0 20 dias si vive fuera del
 ZDonde puedo obtener los formularios de la corte que                    condado), o
 necesito?                                                            • Necesita mas tiempo para conseguir interprete. (Se
 Vaya a cualquier edificio de la corte, la biblioteca legal de           permite un solo apiazamiento sin tener que pagar
  su condado o imprima los formularios en;                               cuota para aplazar el juicio).
 www.courts. ca.gov/smallclaims/forms                                  Preguntele al secretario de reclamos menores sobre las
 LQue pasa en el juicio?                                               reglas y las cuotas para aplazar un juicio. O Ilene el
                                                                       formulario SC-150 (o escriba una carta) y envielo antes del
  EI juez escucharfi a ambas partes. EI juez puede tomar su plazo a la corte y a todas las otras personas que figuran en
  decisi6n durante la audiencia o enviarsela por correo                sus papeles de la corte. Adjunte un cheque para pagar los
                                                                       costos de la corte, a menos que le hayan dado una exencion.
 despues.
 ZQue pasa si pierdo el caso?                                          ~     LNecesita ayuda? EI Asesor de Reclamos
 Si pierde, puede apelar. Tendra que pagar una cuota. (EI              '     Menores de su condado le puede ayudar sin cargo.
 Demandante no puede apelar su propio reclamo.)
                                                                      Hotline: (858) 634-1777
 •    Si estuvo presente en el juicio, Ilene el formulario            Central Division: 330 W Broadway, Rm 241, San Diego, CA 92101
      SC-140, Aviso de apelacion. Tiene que presentarlo               North Division: 325 S. Melrose Drive, Vista, CA 92081
      dentro de 30 dias depuas de la decision del juez.
 •  Si no estuvo en el juicio, Ilene y presente el formulario        O vea "Informacibn por condado" en:
    SC-135, Aviso de petici6n para anular el fallo y                 www.courts.ca.gov/reclamosmenores/asesores.
    Declaracibn para pedirle al juez que anule el fallo
    (decisi6n). Si la corte no le otorga un nuevo juicio, tiene      *Excepciones: Existen diferentes limites en un reclamo contra un
    10 d(as para apelar la decisi6n. Presente el formulario          garante. (Vea el Cbdigo de Procedimiento Civil, seccibn 116.220 (c).)
    SC-140.                                                          En un caso presentado por una persona natural por danos debido a
 Para obtener mas informacibn sobre las apelaciones, vea:            lesiones ffsicas en un accidente automovilistico, existe un limite de
                                                                     $7,500 si el demandado tiene cobertura bajo una poliza de seguro
 www.courts.ca.gov/reciamosmenores/apelaciones.                      de vehiculo que incluye la obligacibn de defender.(Vea el C6digo de
                                                                     Procedimiento Civil, seccibn 116.221.)
 Revised January 1, 2012                  Reclamo del Demandante y ORDEN                                                   sc-100, Page 5
                                         Para ir a la Corte de Reclamos Menores
                                                  (Reclamos Menores)
                                                                                                                            .                    ~

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